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UNITED STATES DISTRICT COURT

DISTRICT OF MINNESOTA _ c
Cr. 15-153 DwA/ DS
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) 18 U.S.C. § 115(a)(1)(B)
) 18 U.S.C. § 875(c)
v. )
)
MICHAEL PAUL LEWIS, )
)
Defendant. )
)

THE UNITED STATES GRAND JURY CHARGES THAT:

COUNT 1
(Threatening To Murder a United States Official)

On or about March 26, 2025, in the State and District of Minnesota, the
defendant,
MICHAEL PAUL LEWIS,
did threaten to murder Victim A, a United States Congressperson, with intent
to impede, intimidate, and interfere with Victim A while Victim A was engaged
in the performance of Victim A’s official duties, all in violation of Title 18,
United States Code, Section 115(a)(1)(B).

COUNT 2
(Interstate Transmission of a Threat To Injure the Person of Another)

On or about March 26, 2025, in the State and District of Minnesota, the

defendant,

MICHAEL PAUL LEWIS,

US. DISTRICT COURT MPLS
knowingly and willfully did transmit in interstate and foreign commerce a
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communication, specifically, a phone call from Minnesota to the U.S.
Congressional Field Office of Victim A, and the communication contained a

threat to injure Victim A, all in violation of Title 18, United States Code,

Section 875(c).

A TRUE BILL

ACTING UNITED STATES ATTORNEY FOREPERSON
